
671 S.E.2d 327 (2008)
STATE of North Carolina
v.
Amy Rebecca McARTHUR.
No. 363PA08.
Supreme Court of North Carolina.
December 11, 2008.
Mark Montgomery, Durham, for McArthur.
Thomas J. Ziko, Special Deputy Attorney General, Garland N. Yates, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed on the 6th day of August 2008 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 11th day of December 2008."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
